                      United States Bankruptcy Court
                     Northern District of California


In re:                                                     Case No. 18-41099WJL

Marc and Dena Protenic                                     Chapter 11



            [PROPOSED] COMBINED PLAN OF REORGANIZATION
   AND [APPROVED] [TENTATIVELY APPROVED] DISCLOSURE STATEMENT
                            11/30/2018
INTRODUCTION

     This is Debtor’s Combined Chapter 11 Plan of Reorganization
and Disclosure Statement (the Plan). The Plan identifies each
known creditor by name and describes how each claim will be
treated if the Plan is confirmed.

     Part 1 contains the treatment of creditors with secured
claims; Part 2 contains the treatment of general unsecured
creditors: 5% of their allowed in monthly payments over 49
months. Taxes and other priority claims would be paid in full,
as shown in Part 3.

     Most creditors (those in impaired classes) are entitled to
vote on confirmation of the Plan. Completed ballots must be
received by Debtor’s counsel, and objections to confirmation must
be filed and served, no later than [date]. The court will hold a
hearing on confirmation of the Plan on [date] at [time].

     Attached to the Plan are exhibits containing financial
information that may help you decide how to vote and whether to
object to confirmation. Exhibit 1 includes background
information regarding Debtor and the events that led to the
filing of the bankruptcy petition and describes significant
events that have occurred during this Chapter 11 case. Exhibit 2
contains an analysis of how much creditors would likely receive
in a Chapter 7 liquidation. Exhibit 3 shows Debtor’s monthly
income and expenses. Exhibit 4 describes how much Debtor is
required to pay on the effective date of the plan. Exhibit 5
shows Debtor’s monthly income and expenses related to each
investment property.

      Whether the Plan is confirmed is subject to complex legal

Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                           -1-                        (Version: 7/30/12)




Case: 18-41099   Doc# 44   Filed: 12/03/18   Entered: 12/03/18 08:54:50   Page 1 of 20
rules that cannot be fully described here. You are strongly
encouraged to read the Plan carefully and to consult an attorney
to help you determine how to vote and whether to object to
confirmation of the Plan.

      If the Plan is confirmed, the payments promised in the Plan
constitute new contractual obligations that replace the Debtor’s
pre-confirmation debts. Creditors may not seize their collateral
or enforce their pre-confirmation debts so long as Debtor
performs all obligations under the Plan. If Debtor defaults in
performing Plan obligations, any creditor can file a motion to
have the case dismissed or converted to a Chapter 7 liquidation,
or enforce their non-bankruptcy rights. Debtor will be
discharged from all pre-confirmation debts (with certain
exceptions) if Debtor makes all Plan payments. Enforcement of
the Plan, discharge of the Debtor, and creditors’ remedies if
Debtor defaults are described in detail in Parts 5 and 6 of the
Plan.

PART 1: TREATMENT OF SECURED CREDITORS

Property to be Surrendered.
 Class   Name of Creditor                    Description of Collateral
 1A              NONE



     Debtor will surrender the above collateral on the Effective
Date of the Plan. The confirmation order will constitute an
order for relief from stay. Any secured claim is satisfied in
full through surrender of the collateral. Any deficiency claim
is a general unsecured claim treated in Part 2. Creditors in
these classes shall retain their interest in the collateral.
These secured claims are not impaired and are not entitled to
vote on confirmation of the Plan.


Creditors’ Rights Remain Unchanged.
 Class   Name of Creditor                    Description of Collateral
                 NONE




      These creditors’ legal, equitable, and contractual rights

Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                           -2-                        (Version: 7/30/12)




Case: 18-41099   Doc# 44   Filed: 12/03/18   Entered: 12/03/18 08:54:50   Page 2 of 20
remain unchanged with respect to the above collateral. The
confirmation order will constitute an order for relief from stay.
Creditors in these classes shall retain their interest in the
collateral until paid in full. These secured claims are not
impaired and are not entitled to vote on confirmation of the
Plan.


Debtor to Make Regular Payments and Pay Arrears Over Time.
     [select one form of table and delete the other]
 Class   Name of      Collateral     Regular         Estimated   Interest    Monthly
         Creditor                    Monthly         Arrears     Rate on     Payment
                                     Payment                     Arrears     on
                                                                             Arrears
         NONE




     Debtor will pay the entire amount contractually due by
making all post-confirmation regular monthly payments, and by
paying all pre-confirmation arrears (including attorneys fees and
late charges) with interest in [number] equal monthly payments,
due the [number] day of the month, starting [month & year] on the
above secured claims. To the extent arrears are determined to be
other than as shown above, appropriate adjustments will be made
in the number of payments. Creditors in these classes shall
retain their interest in the collateral until paid in full.

     Creditors in these classes may not repossess or dispose of
their collateral so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). These secured claims are
impaired and entitled to vote on confirmation of the Plan.


      Debtor to Strip Lien to Value of Collateral and Pay Over
Time.
      [select one form of table and delete the other]
 Class   Name of           Collateral        Value         Interest     Monthly
         Creditor                                          Rate         Payment
         NONE




Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                           -3-                           (Version: 7/30/12)




Case: 18-41099   Doc# 44   Filed: 12/03/18    Entered: 12/03/18 08:54:50    Page 3 of 20
Debtor to Adjust Terms and Pay Amount Due in Full Over Time.
     [select one form of table and delete the other]
 Class   Name of          Collateral      Amount Due   Interest   Monthly    Term
         Creditor                                      Rate       Payment
   1        IRS          Personal          7,065.66        5%      159.72    49 Months
                         Property




     Debtor will pay the entire amount contractually due with
interest through 49 equal monthly payments, due the 1st day of
the month, starting Effective Date on the above secured claims.
Creditors in these classes shall retain their interest in the
collateral until Debtor makes all payments on the allowed secured
claim specified in the Plan.

     Creditors in these classes may not repossess or dispose of
their collateral so long as Debtor is not in material default
under the Plan (defined in Part 6(c)). These secured claims are
impaired and are entitled to vote on confirmation of the Plan.

     Payments to claimants in these classes may continue past the
date Debtor obtains a discharge. The claimants’ rights against
its collateral shall not be affected by the entry of discharge,
but shall continue to be governed by the terms of this Plan.

Property to be Sold.

 Class    Name of Creditor          Collateral          Value of            Monthly
                                                        Collateral          Payment

                  NONE




PART 2: TREATMENT OF GENERAL UNSECURED CREDITORS
Class 2(a). Small Claims.

 Name of Creditor             Amount of Claim              Amount to be Paid
           NONE




Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                             -4-                        (Version: 7/30/12)




Case: 18-41099    Doc# 44    Filed: 12/03/18   Entered: 12/03/18 08:54:50   Page 4 of 20
Class 2(b). [Other] General Unsecured Claims.
   Name of Creditor     POC #   Sch F Amount   POC Filed      Dispu   Allowed        Total   Monthly
                                                Amount         ted    Amount       Amount to Payment
                                                              (Y/N)                 be Paid    5%

   04 Contra Costa                  1,628.00           0.00      N    1,628.00         81.40      1.66
   County
   ALLIANCEONE                      1,628.00          0.00       Y    0.00               0.00     0.00
   ALLIANCEONE RECEIVABLE           1,516.00          0.00       Y    0.00               0.00     0.00
   Bk Of Amer                      37,730.00          0.00       Y    0.00               0.00     0.00
   Bk Of Amer                      18,803.00          0.00       Y    0.00               0.00     0.00
   Bmby/cbna                          100.00          0.00       N   100.00              5.00     0.10
   Bosco Credit LLC  POC # 3 151,209.42         254,142.69       Y 254,142.69       12,707.13   259.33
   Bridgeport Financial             1,000.00          0.00       Y    0.00               0.00     0.00
   Cal State Emp Cr Un            125,000.00          0.00       Y    0.00               0.00     0.00
   9
   Calif Emergency                  1,115.00           0.00      Y      0.00             0.00     0.00
   CHASE RECEIVABLES                    0.00           0.00      N      0.00             0.00     0.00
   Citibank                         1,813.00           0.00      Y      0.00             0.00     0.00
   Contra Costa                       300.00           0.00      Y      0.00             0.00     0.00
   County
   Contra Costa                       921.00           0.00       Y     0.00             0.00     0.00
   County
   Contra Costa                     1,516.00           0.00       Y     0.00             0.00     0.00
   County
   CREDIT BUREAU ASSOCIAT               0.00           0.00      N      0.00            0.00      0.00
   Creditors Bureau                   330.00           0.00      N     330.00          16.50      0.34
   USA
   Esb/harley Davidson                  0.00           0.00      N      0.00             0.00     0.00
   Cr
   Ford Cred                          495.00           0.00       Y     0.00             0.00     0.00
   Franchise Tax Board POC # 2 30,000.00          13,661.04       Y   13,661.04        683.05    13.94
   Franklin Credit Mngmnt               0.00           0.00       Y      0.00            0.00     0.00
   Gary Fong DDS                      966.00           0.00       Y     0.00             0.00     0.00
   Hsbc/bsbuy                       2,280.00           0.00       Y     0.00             0.00     0.00
   Internal Revenue POC # 1 95,000.00             58,132.52       Y   58,132.52      2,906.63    59.32
   Service
   John Muir Health                   168.00           0.00       Y     0.00             0.00     0.00
   wal
   John Muir Health                   100.00           0.00       Y     0.00             0.00     0.00
   Wal
   John Muir Physician                130.00           0.00       Y     0.00             0.00     0.00

Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                                  -5-                                (Version: 7/30/12)




Case: 18-41099        Doc# 44   Filed: 12/03/18     Entered: 12/03/18 08:54:50          Page 5 of 20
   John Muir Physician            233.00           0.00   Y     0.00             0.00    0.00
   John Muir Physician             43.00           0.00   N     43.00            2.15    0.04
   John Muir Physician             54.00           0.00   Y     0.00             0.00    0.00
   John Muir Physician             54.00           0.00   N     54.00            2.70    0.06
   John Muir Physician             54.00           0.00   Y     0.00             0.00    0.00
   John Muir Physician            260.00           0.00   Y     0.00             0.00    0.00
   Lee Chiropractic               130.00           0.00   Y     0.00             0.00    0.00
   LVNV Funding for POC # 4                   29,325.78       29,325.78      1,466.29   29.92
   Citibank
   LVNV Funding for POC # 6                    1,984.37       1,984.37         99.22     2.02
   Citibank
   Linda Markel                 5,000.00           0.00   N   5000.00         250.00     5.10
   Mark S Nadler Dmd            3,537.00           0.00   Y    0.00             0.00     0.00
   Med 02 Calif                   169.00           0.00   Y    0.00             0.00     0.00
   Emerge
   Michael Strauss             12,000.00           0.00   N   12,000.00        600.00   12.24
   Mohela/Dept of Ed           28,547.00           0.00   N   28,547.00      1,427.35   29.13
   Mohela/Dept of Ed           27,104.00           0.00   N   27,104.00      1355.20    27.66
   Oakridge at Greystone Ranch      0.00           0.00   Y     0.00             0.00    0.00
   Assn
   PINNACLE CREDIT POC # 5 1,813.00            1,268.03   N   1,268.03         63.40     1.29
   SERVIC
   Rash Curtis & Associates     1,654.00           0.00   N   1,654.00         82.70     1.69
   Rash Curtis & Associates     1,300.00           0.00   Y     0.00            0.00     0.00
   Raymond Hoyt                 6,200.00           0.00   N   6,200.00        310.00     6.33
   Safeamerica FCU                  0.00           0.00   N     0.00            0.00     0.00
   Safeamerica Federal              0.00           0.00   Y     0.00            0.00     0.00
   Sears/cbna                   1,984.00           0.00   Y     0.00            0.00     0.00
   Stanislaus Credit Control    1,115.00           0.00   N   1,115.00         55.75     1.14
   Service, Inc.
   Syncb/discount Tire          2,800.00           0.00   Y     0.00            0.00     0.00
   Synchrony Bank/Discount          0.00           0.00   N     0.00            0.00     0.00
   Tire
   Technology Credit            8,954.00           0.00   Y     0.00            0.00     0.00
   Unio
   Thd/cbna                     1,268.00           0.00   Y     0.00            0.00     0.00
   TROJAN PROFESSIONAL SE       3,537.00           0.00   N   3,537.00        176.85     3.61
   TRUE NORTH AR                    0.00           0.00   N     0.00            0.00     0.00
   Ucsf Predoctoral Cln             0.00           0.00   N     0.00            0.00     0.00
   Universal /Citi              5,329.00           0.00   Y     0.00            0.00     0.00
   USAA Savings Bank           13,703.00           0.00   Y     0.00            0.00     0.00
   Verizon Wireless                 0.00           0.00   N     0.00            0.00     0.00

Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                              -6-                            (Version: 7/30/12)




Case: 18-41099   Doc# 44    Filed: 12/03/18     Entered: 12/03/18 08:54:50      Page 6 of 20
   Wachrl                     12,000.00         0.00   Y      0.00             0.00     0.00
   Wf Crd Svc                  7,230.00         0.00   N    7,230.00         361.50     7.38
   Wfhm                            0.00         0.00   N      0.00             0.00     0.00
   TOTAL                     619,820.42   358,514.43       453,056.43     22,652.82   462.30

[All known non-priority unsecured creditors, including deficiency
claims, and rejection claims, whether scheduled or based on
proofs of claim on file excluding those listed in Class 2(a),
must be listed in the above table.]

     Allowed claims of general unsecured creditors [not treated
as small claims] (including allowed claims of creditors whose
executory contracts or unexpired leases are being rejected under
this Plan) shall be paid as follows:
     Percent Plan. Creditors will receive 5 percent of their
     allowed claim in 49 equal monthly installments, due on the
     1st day of the month, starting Effective Date.

            Creditors in this class may not take any collection
       action against Debtor so long as Debtor is not in material
       default under the Plan (defined in Part 6(c)). This class
       is impaired and is entitled to vote on confirmation of the
       Plan. Debtor has indicated above whether a particular claim
       is disputed.

PART 3: TREATMENT OF PRIORITY AND ADMINISTRATIVE CLAIMS
(a) Professional Fees.

     Debtor will pay the following professional fees in full on
the Effective Date, or upon approval by the court, whichever is
later.

 Name and Role of Professional                                Estimated Amount
 Mufthiha Sabaratnam Esq                                                EST $45,000.00

     The following professionals have agreed to accept payment
over time as follows. Payments will be made [monthly/
quarterly], due on the [number] day of the [month/quarter],
starting [month & year] or upon approval by the court, whichever
is later.

 Name and Role of          Estimated            Payment Amount          Number of
 Professional              Amount                                       Payments



Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                             -7-                           (Version: 7/30/12)




Case: 18-41099   Doc# 44    Filed: 12/03/18   Entered: 12/03/18 08:54:50      Page 7 of 20
 Mufthiha Sabaratnam       $45000              $35,000 on date of    Balance over
                                               signing the order     ten months
                                                                     $1000 per month
                                                                     starting on the
                                                                     Effective Date

     Professionals may not take collection action against Debtor
so long as Debtor is not in material default under the Plan
(defined in Part 6(c)). Estate professionals are not entitled to
vote on confirmation of the Plan.

(b) Other Administrative Claims. Debtor will pay other allowed
claims entitled to priority under section 503(b) in full on the
Effective Date; except expenses incurred in the ordinary course
of Debtor’s business or financial affairs, which shall be paid
when normally due and payable (these creditors are not listed
below). All fees payable to the United States Trustee as of
confirmation will be paid on the Effective Date; post-
confirmation fees to the United States Trustee will be paid when
due.

     Administrative Creditors may not take any collection action
against Debtor so long as Debtor is not in material default under
the Plan (defined in Part 6(c)). Administrative claimants are
not entitled to vote on confirmation of the Plan.
(c) Tax Claims. Debtor will pay allowed claims entitled to
priority under section 507(a)(8) in full over time with interest
(at the non-bankruptcy statutory interest rate) in equal
amortizing payments in accordance with section 511 of the
Bankruptcy Code. Payments will be made [monthly/quarterly], due
on the [number] day of the [month/quarter], starting [month &
year]. To the extent amounts owed are determined to be other
than as shown below, appropriate adjustments will be made in the
number of payments.

     Priority tax creditors may not take any collection action
against Debtor so long as Debtor is not in material default under
the Plan (defined in Part 6(c)). Priority tax claimants are not
entitled to vote on confirmation of the Plan.

 Name of               Estimated Amount       Statutory      Payment       Number of
 Creditor              of Claim               Interest       Amount        Payments
                                              Rate
        IRS            $177,086.89                 5%         $4002.99         49
        FTB            $14,643.93                  5%         $331.02          49

Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                            -8-                        (Version: 7/30/12)




Case: 18-41099   Doc# 44    Filed: 12/03/18   Entered: 12/03/18 08:54:50   Page 8 of 20
PART 4:   EXECUTORY CONTRACTS AND UNEXPIRED LEASES
(a) Executory Contracts/Unexpired Leases Assumed. Debtor assumes
the following executory contracts and/or unexpired leases upon
confirmation of this Plan and will perform all pre-confirmation
and post-confirmation obligations thereunder. Post-confirmation
obligations will be paid as they come due. Pre-confirmation
arrears will be paid [select one] [in full on the Effective Date]
in [number] equal [monthly/quarterly] installments beginning on
the first day of [month & year].

 Name of         Description of        Estimated         Installment       Number of
 Counter-        Contract/Lease        Total Cure        Amount            Installments
 Party                                 Amount
 John Lopes      Residential Lease             0         $3900             Term of
                                                                           Lease

(b) Executory Contracts/Unexpired Leases Rejected. Debtor
rejects the following executory contracts and/or unexpired leases
and surrenders any interest in the affected property, and allows
the affected creditor to obtain possession and dispose of its
property, without further order of the court. Claims arising
from rejection of executory contracts have been included in Class
2 (general unsecured claims).

 Name of Counter-Party                        Description of Contract/Lease
       NONE

(c) Executory contracts and unexpired leases not specifically
assumed or rejected above will be deemed Rejected.

PART 5: DISCHARGE AND OTHER EFFECTS OF CONFIRMATION
(a) Discharge. Debtor shall not receive a discharge of debts
until Debtor makes all payments due under the Plan or the court
grants a hardship discharge.

(b) Vesting of Property. On the Effective Date, all property of
the estate and interests of the Debtor will vest in the
reorganized Debtor pursuant to § 1141(b) of the Bankruptcy Code
free and clear of all claims and interests except as provided in
this Plan, subject to revesting upon conversion to Chapter 7 as
provided in Part 6(f) below.

(c) Plan Creates New Obligations. Except as provided in
Part 6(d) and (e), the obligations to creditors that Debtor
undertakes in the confirmed Plan replace those obligations to

Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                            -9-                        (Version: 7/30/12)




Case: 18-41099    Doc# 44   Filed: 12/03/18   Entered: 12/03/18 08:54:50    Page 9 of 20
creditors that existed prior to the Effective Date of the Plan.
Debtor’s obligations under the confirmed Plan constitute binding
contractual promises that, if not satisfied through performance
of the Plan, create a basis for an action for breach of contract
under California law. To the extent a creditor retains a lien
under the Plan, that creditor retains all rights provided by such
lien under applicable non-Bankruptcy law.

PART 6: REMEDIES IF DEBTOR DEFAULTS IN PERFORMING THE PLAN
(a) Creditor Action Restrained. The confirmed Plan is binding
on every creditor whose claims are provided for in the Plan.
Therefore, even though the automatic stay terminates on the
Effective Date with respect to secured claims, no creditor may
take any action to enforce either the pre-confirmation obligation
or the obligation due under the Plan, so long as Debtor is not in
material default under the Plan, except as provided in Part 6(e)
below.

(b) Obligations to Each Class Separate. Debtor’s obligations
under the Plan are separate with respect to each class of
creditors. Default in performance of an obligation due to
members of one class shall not by itself constitute a default
with respect to members of other classes. For purposes of this
Part 6, the holders of all administrative claims shall be
considered to be a single class, the holders of all priority
claims shall be considered to be a single class, and each non-
debtor party to an assumed executory contract or lease shall be
considered to be a separate class.

(c) Material Default Defined. If Debtor fails to make any
payment, or to perform any other obligation required under the
Plan, for more than 10 days after the time specified in the Plan
for such payment or other performance, any member of a class
affected by the default may serve upon Debtor and Debtor’s
attorney (if any) a written notice of Debtor’s default. If
Debtor fails within 30 days after the date of service of the
notice of default either: (i) to cure the default; (ii) to obtain
from the court an extension of time to cure the default; or (iii)
to obtain from the court a determination that no default
occurred, then Debtor is in Material Default under the Plan to
all the members of the affected class.

(d) Remedies Upon Material Default. Upon             Material Default, any
member of a class affected by the default:           (i) may file and serve
a motion to dismiss the case or to convert           the case to Chapter 7;
or (ii) without further order of the court           has relief from stay

Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                          -10-                     (Version: 7/30/12)




Case: 18-41099   Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 10 of
                                         20
to the extent necessary, and may pursue its lawful remedies to
enforce and collect Debtor’s pre-confirmation obligations.

(e) Claims not Affected by Plan. Upon confirmation of the Plan,
and subject to Part 5(c), any creditor whose claims are left
unimpaired under the Plan may, notwithstanding paragraphs (a),
(b), (c), and (d) above, immediately exercise all of its
contractual, legal, and equitable rights, except rights based on
default of the type that need not be cured under section
1124(2)(A) and (D).

(f) Effect of Conversion to Chapter 7. If the case is at any
time converted to one under Chapter 7, property of the Debtor
shall vest in the Chapter 7 bankruptcy estate to the same extent
provided for in section 348(f) of the Bankruptcy Code upon the
conversion of a case from Chapter 13 to Chapter 7.

(g) Retention of Jurisdiction. The bankruptcy court may
exercise jurisdiction over proceedings concerning: (i) whether
Debtor is in Material Default of any Plan obligation; (ii)
whether the time for performing any Plan obligation should be
extended; (iii) adversary proceedings and contested matters
pending as of the Effective Date or specifically contemplated in
this Plan to be filed in this court (see Part 7(f)); (iv) whether
the case should be dismissed or converted to one under Chapter 7;
(v) any objections to claims; (vi) compromises of controversies
under Fed. R. Bankr. Pro. 9019; (vii) compensation of
professionals; and (viii) other questions regarding the
interpretation and enforcement of the Plan.

PART 7: GENERAL PROVISIONS
(a) Effective Date of Plan. The Effective Date of the Plan is
the fifteenth day following the date of the entry of the order of
confirmation, if no notice of appeal from that order has been
filed. If a notice of appeal has been filed, Debtor may waive
the finality requirement and put the Plan into effect, unless the
order confirming the Plan has been stayed. If a stay of the
confirmation order has been issued, the Effective Date will be
the first day after that date on which no stay of the
confirmation order is in effect, provided that the confirmation
order has not been vacated.
(b) Disputed Claim Reserve. Debtor will create a reserve for
disputed claims. Each time Debtor makes a distribution to the
holders of allowed claims, Debtor will place into a reserve the
amount that would have been distributed to the holders of
disputed claims if such claims had been allowed in the full

Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                          -11-                     (Version: 7/30/12)




Case: 18-41099   Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 11 of
                                         20
amount claimed. If a disputed claim becomes an allowed claim,
Debtor shall immediately distribute to the claimant from the
reserve an amount equal to all distributions due to date under
the plan calculated using the amount of the allowed claim. Any
funds no longer needed in reserve shall be [select one] [returned
to Debtor] [distributed pro-rata among allowed claims in this
class].

(c) Cramdown. Pursuant to section 1129(b) of the Bankruptcy
Code, Debtor reserves the right to seek confirmation of the Plan
despite the rejection of the Plan by one or more classes of
creditors.

(d) Severability. If any provision in the Plan is determined to
be unenforceable, the determination will in no way limit or
affect the enforceability and operative effect of any other
provision of the Plan.

(e) Governing Law. Except to the extent a federal rule of
decision or procedure applies, the laws of the State of
California govern the Plan.

(f)  Lawsuits.
     Debtor believes that causes of action for fraudulent
transfers, voidable preferences, or other claims for relief exist
against the following parties:

      Party         Creditor       Nature of        Amount of      Will Debtor
                       Y/N           Claim            Claim         Prosecute
                                                                     Action?
                                                                       Y/N
       NONE



(g) Notices. Any notice to the Debtor shall be in writing, and
will be deemed to have been given three days after the date sent
by first-class mail, postage prepaid and addressed as follows:


Marc S. Protenic
Dena J. Protenic
110 Sienna Place
Danville, CA 94506



Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                          -12-                     (Version: 7/30/12)




Case: 18-41099   Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 12 of
                                         20
                                           /s/Mufthiha Sabaratnam




Case: 18-41099   Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 13 of
                                         20
Attorney Certification

     I, Mufthiha Sabaratnam, am legal counsel for the Debtor(s)
in the above-captioned case and hereby certify the following: (i)
the foregoing plan is a true and correct copy of the Individual
Chapter 11 Combined Plan and Disclosure Statement promulgated by
the Northern District of California, San Francisco Division, on
July 30, 2012 (the “Standard-Form Plan”); and (ii) except as
specified below, there have been no alterations or modifications
to any provision of the Standard-Form Plan.

     The following provisions of the Standard-Form Plan have been
altered or otherwise modified.

           [indicate the page number,
           line number, and general subject-
           matter for each modification]



     I declare that the foregoing is true and correct.                  Executed
this 12/3/2018.

                                              /s/ Mufthiha Sabaratnam
                                             Attorney for Debtor(s)




                                      -14-                      (Version: 7/30/12)




Case: 18-41099   Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 14 of
                                         20
Exhibit 1 - Events That Led To Bankruptcy
Debtor, Marc Protenic was the sole wage-earner in this case. Marc
is a licensed insurance Agent working with HealthMarkets
Insurance Agency. He is an independent contractor and has been an
agent with this establishment for the last ten years. While the
business has been fairly steady, the payments to the agents are
not received when the sale is made and the lag time could vary
from a month to even as long as a year. Having to support two
children in the last four years, on this pay-out schedule has
been a struggle. He was unable to pay his tax liabilities and
other debt and filed for protection under Chapter 13 in 2014
(case number 14-43598). After confirming a Plan Debtor continued
to make the Plan payments and during the 3rd quarter of 2017, the
lag time was so long that he was unable to make the current plan
payments and the case was dismissed. The tax debt after dismissal
almost doubled in amount, (due to penalties accrued that were
added back), and he had to file under Chapter 11.
     He has used the last seven (7) months between the first case
and refiling under Chapter 11 to add some other insurance
products which paid out on a much regular basis. He also
recruited his spouse into HealthMarkets, so starting July of 2018
she will contribute to the cash flow.




Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                          -15-                     (Version: 7/30/12)

Case: 18-41099   Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 15 of
                                         20
Exhibit 2 - What Creditors Would Receive if the Case Were
Converted to a Chapter 7

Real Property #1: NONE
 Fair Market            Liens        Cost of          Resulting     Amt of         Net
    Value                             Sale           Income Tax   Exemption     Proceeds
                 1st

                 2nd

                 3rd




Personal Property:
           Description             Liquidation        Secured       Amt of         Net
                                      Value            Claim      Exemption     Proceeds
 Cash -As of 10/31/2018              8,427.00         7,065.66      0.00       1,361.34
 from MOR
 Automobile #1                      2,000.00            0.00      2,000.00        0.00
 Automobile #2                      3,000.00            0.00      3,000.00        0.00
 Household Furnishings              1,000.00            0.00      1,000.00        0.00
 Jewelry                              500.00            0.00       500.00         0.00
 Equipment                             0.00             0.00        0.00          0.00
 Stocks / Investments                  0.00             0.00        0.00          0.00
 Other Personal Property              600.00            0.00       600.00         0.00
 TOTAL


 Net Proceeds of Real Property and Personal Property                            1,361.34
 Recovery from Preferences / Fraudulent Conveyances                    [ADD]         0.00
 Chapter 7 Administrative Claims                                  [SUBTRACT]
 Chapter 11 Administrative Claims                                 [SUBTRACT]   45,000.00
 Priority Claims                                                  [SUBTRACT]   191,730.82
 Chapter 7 Trustee Fees                                           [SUBTRACT]
                                                                               2,302.00
 Chapter 7 Trustee’s Professionals                                [SUBTRACT]   UNK
 NET FUNDS AVAILABLE FOR DISTRIBUTION TO UNSECURED CREDITORS                         0.00


 Estimated Amount of Unsecured Claims                                          420,879.43
 Percent Distribution to Unsecured Creditors Under Proposed Plan                            5%


Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                                 -16-                      (Version: 7/30/12)

Case: 18-41099         Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50    Page 16 of
                                               20
 Percent Distribution to Unsecured Creditors Under Liquidation                   0%
 Analysis

Exhibit 3 - Monthly Income and Expenses

 Income                                                                   Amount
 Gross Employment Income

 Gross Business Income
 OTHER INCOME - Commission Income                                         19,898.00
 Positive Cash Flow on Investment Property (Exhibit 5, Line A)                 0.00

 A. Total Monthly Income                                                  19,898.00


 Expenses                                                                 Amount
 Includes Plan Payments on Secured Claims for Residence and Car
 Auto                                                                       1108.00
 Bank Service Charges                                                         10.00
 Cable TV                                                                    171.00
 Children’s Education                                                        498.00
 Clothing                                                                    499.00
 Computer and Internet                                                        52.00
 Food                                                                       1384.00
 Insurance                                                                  1897.00
 Laundry                                                                      44.00
 Meals and Client Entertainment                                              329.00
 Medical                                                                     406.00
 Miscellanious                                                              2231.00
 Office Supplies                                                              22.00
 Personal Expense                                                             62.00
 Rent                                                                       3900.00
 Repairs and Maintenance                                                     479.00
 Telephone                                                                   337.00
 Travel                                                                      196.00
 Utilities                                                                   229.00
 Other Expenses                                                                0.00


Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                           -17-                      (Version: 7/30/12)

Case: 18-41099     Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 17 of
                                           20
 Negative Cash Flow on Investment Property (Exhibit 5, Line B)                 0.00

 B. Total Monthly Expenses                                                 13854.00


 C. Disposable Income (Line A - Line B)                                     6044.00


 Plan Payments                                                            Amount
 Plan Payments Not Included in Calculating Disposable Income
 Administrative Claims
 Priority Claims                                                            4334.01
 General Unsecured Creditors                                                 462.30
 IRS Secured Claim                                                           159.72

 D. Total Plan Payments                                                     4956.03


 E. Plan Feasibility (Line C - Line D)                                      1087.97
 (Not feasible if less than zero)




Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                           -18-                      (Version: 7/30/12)

Case: 18-41099     Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 18 of
                                           20
Exhibit 4 - Effective Date Feasibility

Can the Debtor Make the Effective Day Payments?
                                                                  Amount           Amount
 A. Projected Total Cash on Hand on Effective Date                             22967.00

    Payments on Effective Date
      Attorney Fee
      IRS Secured Claim                                             159.72
      Priority Claims                                              4334.01
      General Unsecured Claims                                      462.30
      U.S. Trustee Fees
 B. Total Payments on Effective Date                                               4956.03

 C. Net Cash on Effective Date (Line A - Line B)                                   18010.97
 (Not feasible if less than zero)


  Projected date cash consists of
  Cash in Bank end of Oct                                              8,427.00
  Projected profits in Nov, Dec, Jan, Feb and Mar                      14,540.00
  Total                                                                22,967.00




Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                                  -19-                   (Version: 7/30/12)

Case: 18-41099      Doc# 44      Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 19 of
                                               20
Exhibit 5 - Investment Property Analysis

Properties with Positive Monthly Cash-Flow:
Real Property #1 Income:NONE
   Rental          Mortgage         Insurance      Property       Other       Net Income
   Income                                            Taxes      Expenses
                 1st                                                                0.00
                 2nd

                 3rd




 A. Total Positive Cash Flow                                                        0.00


Properties with Negative Monthly Cash-Flow:
Real Property #3 Income: NONE
   Rental          Mortgage         Insurance      Property       Other       Net Income
   Income                                            Taxes      Expenses
                 1st                                                                0.00
                 2nd

                 3rd




 B. Total Negative Cash Flow                                                        0.00




Individual Chapter 11
Combined Plan & Disclosure Statement
July 30, 2012                               -20-                      (Version: 7/30/12)

Case: 18-41099         Doc# 44   Filed: 12/03/18 Entered: 12/03/18 08:54:50   Page 20 of
                                               20
